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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,

                          Plaintiff,
                                                              MEMORANDUM & ORDER
         -against-                                            06-CR-285 (NGG)


 STEFAN CICALE, et al.,

                            Defendants.
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 GARAUFIS, United States District Judge.

         Stefan Cicale (“Defendant” or “Cicale”) has been detained pending trial since May 11,

 2006. On July 16, 2006, Defendant Cicale moved before Magistrate Judge Ramon Reyes for

 release pending trial upon a bail package of properties owned by Cicale’s family, conditioned on

 a nightly curfew at his parents’ home, and pretrial supervision. (Cicale Mem. Supp. Mot., dated

 July 20, 2006 at 4.) The Government opposed this motion, contending that Cicale is a danger to

 the community and that he presents a flight risk. (Gov’t Mem. Opp. Mot., July 28, 2006 (“Gov’t

 Mem.”) at 4-7.) On July 28, 2006, Magistrate Judge Reyes ordered Cicale released on bail.

 (Transcript of Bail Application (“July 28, 2006 Tr.”), dated July 28, 2006 at 25.) Magistrate

 Judge Reyes’ order was appealed to this court. On August 2, 2006, oral argument was heard on

 this motion, at which I ruled from the bench, reversing Judge Reyes and denying bail.

 (Transcript of the Hearing (“Tr.”) at 45-46.) In this Memorandum and Order, I shall set forth my

 reasoning in greater detail as to why this court is compelled to deny Cicale’s release under the

 Bail Reform Act of 1984.

 I.      FACTUAL BACKGROUND

         Cicale, who is thirty years old, was indicted on May 11, 2006 in a multi-defendant
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 indictment alleging Cicale’s involvement in illegal activities with other defendants who are

 members of the Bonanno organized crime family (“OCF”). Specifically, Cicale is charged as an

 accessory after the fact to the murder of Robert McKelvey, by dismembering and burning

 McKelvey’s body shortly after McKelvey was strangled, stabbed, then drowned. (Indictment ¶¶

 39-40; Gov’t Mem. at 2; Tr. at 3-4.) Cicale also faces two counts of loansharking with a co-

 defendant, John Tufarelli, who is charged with racketeering activities in furtherance of the

 Bonanno OCF. (Indictment ¶¶ 57-60; Gov’t Mem. at 3; Tr. at 4-5.) In addition, the Government

 has proffered that Cicale has engaged in the following: (a) uncharged loansharking activity with

 multiple members of the Bonanno OCF; (b) collecting tribute payments for admitted Bonanno

 solider Michael Maggio and co-defendant Gino Galestro, an alleged member of the Bonanno

 OCF; (c) involvement in the shooting at the house of a person who assaulted an associate of the

 Bonanno OCF; (d) illegal possession of a handgun; (e) burglarizing homes in connection with his

 business as a home renovation contractor; and (f) selling prescription narcotics. (Gov’t Mem. at

 3-4.)

         On July 28, 2006, a bail hearing was conducted before Magistrate Judge Reyes. After

 oral argument, Judge Reyes pronounced the decision of release “a very close call,” the

 government having produced some evidence of dangerousness and of risk of flight, but erred “on

 the side of releasing him with serious stringent conditions.” (July 28, 2006 Tr., at 25.)

         The Government appealed Judge Reyes’ ruling to this court, which heard oral argument

 on August 2, 2006. After a hearing, I determined that the Government showed by clear and

 convincing evidence that Cicale is a danger to the community, and that no set of conditions could

 prevent his danger to the community upon release. At that time I informed the parties that I


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 would issue a written decision to explain my ruling. (Tr. at 45-46.)

 II.       DISCUSSION

           The Bail Reform Act of 1984 (“BRA”) has been interpreted to provide that “[a] district

 judge must undertake a de novo review of a magistrate judge’s decision to release or detain a

 defendant.” United States v. Gotti, 358 F. Supp. 2d 280, 282 (S.D.N.Y. 2005). Thus, this court

 “should not simply defer to the judgment of the magistrate, but reach its own independent

 conclusion.” United States v. Leon, 766 F.2d 77, 80 (2d Cir. 1985).

           The BRA directs the court to impose the least restrictive bail conditions necessary to

 protect the safety of the community and reasonably assure the defendant’s appearance at trial. 18

 U.S.C. § 3142(c)(1)(B). However, where there is no condition or combination of conditions that

 would assure adequate pretrial supervision, the Act directs the court to order the defendant’s

 detention pending trial. 18 U.S.C. § 3142(e). A finding of risk of flight must be supported by a

 preponderance of the evidence, United States v. Jackson, 823 F.3d 4, 5 (2d Cir. 1987), while a

 finding of dangerousness must be supported by clear and convincing evidence. United States v.

 Ferranti, 66 F.3d 540, 542 (2d Cir. 1995). Cicale is presumed innocent, and it is only a “limited

 group of offenders” who should be denied bail pending trial. United States v. Gotti, 358 F. Supp.

 2d 280, 283 (S.D.N.Y. 2005) (quoting United States v. Shakur, 817 F.2d 189, 195 (2d Cir.

 1987)).

           A.     Risk of Flight

           The government argues that detention is warranted because it has shown that Cicale is a

 flight risk and a danger to the community. I find that the Government has not shown by a

 preponderance of the evidence that Cicale is a flight risk. The Government correctly refers this


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 court to the fact that Cicale faces a substantial prison sentence if he is convicted of the crimes

 alleged in the indictment, and, as shall be discussed infra, Cicale has no clear means of legitimate

 employment. However, it is uncontested that Cicale is a U.S. citizen who has lived in the same

 general area for his entire life, that he has traveled very little outside of New York, and that his

 entire family lives in the area. (Tr. at 36-37.) His family is also willing to place substantial

 assets at stake to assure Cicale’s presence in court, which factors in favor of release on the

 question of flight risk, but not for dangerousness. See Ferranti, 66 F.3d at 543-44 (finding that

 substantial bond that safeguards against flight does not necessarily deter danger to the

 community). On balance, I find it unlikely that Cicale would flee, despite the substantial

 sentence that may await him if he were convicted.

        B.      Dangerousness to the Community

        Turning now to whether Cicale presents a danger to the community, I must consider the

 following factors in deciding whether there are conditions of release that will reasonably assure

 the safety of the community: (1) the nature and circumstances of the offense charged, including

 whether the offense is a crime of violence; (2) the weight of the evidence against the person; (3)

 the history and characteristics of the person; and (4) the nature and seriousness of the danger to

 any person or the community that would be posed by Cicale’s release. 18 U.S.C. § 3142(g).

                1.      Nature and circumstances of the offenses charged

        Cicale is charged with two counts of loansharking, and one count of accessory after the

 fact to a murder. (Indictment ¶¶ 39-40, 57-60.) Taken in its entirety, the charged acts allegedly

 committed by Cicale include serious crimes of violence that show a propensity for violence that

 presents a serious danger to the community.


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        It is the law of this circuit, as conceded by the defense (Tr. at 17), that the two

 loansharking counts against Cicale are crimes of violence, and are especially probative of

 dangerousness where, as here, the Defendant is alleged to have assaulted a victim to collect a

 debt. (Tr. at 6-7); see United States v. Rodriguez, 950 F.2d 85, 88 (2d Cir. 1991) (finding that

 violence committed “over a small debt is probative of dangerousness”).

        Furthermore, Cicale is charged with accessory after the fact to murder, which I find to be

 a “crime of violence” under Section 3156 of the BRA. The accessory after the fact to murder

 count charges Cicale with (a) knowing that the victim had just been murdered, and (b) helping

 the murderers evade detection by disposing of the victim’s body. See 18 U.S.C. § 3 (An

 individual is an accessory after the fact when that person, “knowing that an offense against the

 United States has been committed, receives, relieves, comforts or assists the offender in order to

 hinder or prevent his apprehension, trial or punishment . . . .”) Accessory after the fact to murder

 by its very definition involves knowledge that the offender’s actions aid in the commission of a

 violent act. See United States v. Chimurenga, 760 F.2d 400, 404 (2d Cir. 1985) (finding that

 defendant’s leadership role in conspiracy to commit armed robbery constitutes a crime of

 violence because the “collective criminal action” involves a “substantial risk” of violence).

        The defense’s argument that accessory after the fact to murder is not a crime of violence

 because the victim was dead before Cicale’s alleged role in the scheme is unpersuasive.1

 Congress’s intent in including “crime of violence” among the factors of dangerousness was to

 require courts to consider whether the charged acts indicate that the individual is likely to engage



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         I note without comment that I find the Government’s argument that McKelvey’s body
 became “property” after he was murdered equally unconvincing. (Tr. at 24.)

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 in violent acts in the future. See United States v. Dillard, 214 F.3d 88, 101-3 (2d Cir. 2000)

 (finding a felon-in-possession charge to be a “crime of violence” under the BRA). It is clear to

 this court that dismembering and incinerating a body as part of an endeavor by a “crew” of the

 Bonanno OCF to murder McKelvey is part of a violent act because it evinces a wanton disregard

 for human life and a willingness to participate in an act of extreme and depraved violence.

 Therefore, this court does not find that the timing of Cicale’s alleged role in the murder to

 remove him from the violent intent of the murder. See United States v. Ciccone, 312 F.3d 535,

 542 (2d Cir. 2002) (“the BRA ‘does not require that the defendant himself commit acts of

 physical violence as a condition precedent to a detention order’”) (quoting Ferranti, 66 F.3d at

 543). The defense’s argument that this court’s determination of Cicale’s dangerousness is

 “limited to a determination of the loansharking evidence,” (Tr. at 17) is therefore without merit.

        As Cicale is alleged to have played a key role in a homicide for an organized crime family

 with knowledge that his role served to ensure that the killers would not be detected, I find that

 this allegation is extremely serious, and this charge in addition to the two loansharking charges

 weigh heavily in favor of his detention.

                2.      The weight of the evidence against Cicale

        Next, I find that the weight of the evidence against Cicale is strong, if not overwhelming.

 The Government proffers that a cooperating witness, Michael Maggio, will testify that Cicale

 was an associate in his “crew” in the Bonanno OCF, and that he watched as Cicale and others

 dismembered and incinerated McKelvey’s body. (Tr. at 5-6, 21-22, 29-32.) In addition, the

 government summarized recorded statements by Cicale that he was a member of Maggio’s

 “crew,” (Tr. at 5, 29), and that he enforced the collection of loansharking debts for the Bonanno


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 OCF, including one instance in which he assaulted a loansharking victim. (Tr. at 6-7, 24.)

        Defense counsel’s argument that the evidence against Cicale is weak because it is

 supported mainly by one cooperating witness is unavailing. (Tr. at 20.) The cooperating witness,

 Michael Maggio, is an admitted soldier in the Bonanno OCF who asserts that Cicale was an

 associate in his crew. (Tr. at 38.) Maggio is the government’s central witness in this matter, and

 he has provided material evidence regarding the most serious acts contained in the indictment.

 The fact that Maggio is the only witness who “places Mr. Cicale at the scene” (Tr. at 28) of the

 murder of McKelvey does not necessarily suggest Defendant’s innocence, as it is reasonable to

 infer that only the leaders of an organized crime crew would know about each individual’s

 separate responsibilities in a murder orchestrated by that crew. Accordingly, I find that evidence

 that a crew leader identifies Cicale as an associate who committed crimes of violence for the

 crew is strong evidence of the charged crimes.

                3.     The history and characteristics of Cicale

        The BRA requires that this court consider Cicale’s history and characteristics, including

 his “physical and mental condition, family ties, employment, financial resources, length of

 residence in the community, community ties, past conduct, history relating to drug or alcohol

 abuse, criminal history, and record concerning appearance at court proceedings.” 18 U.S.C. §

 3142(g). Of these, the most relevant topics are his past criminal conduct, employment and

 financial history, and family and community ties.

        Cicale has no prior criminal convictions, (Tr. at 26) which weighs in his favor. United

 States v. Mercedes, 254 F.3d 433, 437 (2d Cir. 2001). However, the Government has presented

 substantial evidence that Cicale has engaged in criminal activity on behalf of the Bonanno OCF,


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 including acts of violence. Apart from the charged acts, the Government proffers that Cicale

 collected loansharking debts for two other individuals, sold and used illegal drugs, possessed an

 illegal gun, burglarized homes, and that he was with a group that shot into the house of a person

 in retaliation for that person’s assault of a Bonanno OCF member. (Tr. at 5-8.) The Government

 also proffers that within the next month it will seek a superseding indictment charging Cicale in

 a racketeering count in his capacity as an associate of the Bonanno OCF. (Tr. at 39.) The

 Government’s evidence of Cicale’s uncharged violent criminal activity further evinces his

 dangerousness to the community, even if the alleged violent activity did not initiate criminal

 proceedings. Mercedes, 254 F.3d at 437-38.

        In addition, the Government proffers that Cicale uses illegal drugs, and that Cicale

 allegedly stated in a recorded conversation that he possessed a “big bag” of cocaine, (Tr. at 23)

 are factors in favor of detention. See 18 § 3142(g)(3)(A).

        Consideration of Cicale’s employment and finances also weigh in favor of detention.

 Despite Cicale’s earlier representations that he is a successful contractor, his contracting license

 expired a year ago, and the person for whom he represented he would work does not list him as

 an employee. (Tr. at 9, 32.) His income statements show that he has not reported income as a

 contractor for over a year. (Tr. at 9.) It is therefore unclear what lawful work Cicale would

 perform if he were permitted to continue his regular employment. Furthermore, the Government

 has proffered that he has burglarized construction sites during his work as a contractor, (Tr. at

 23-24) including one instance in which, in response to a dispute that Cicale had with a competing

 contractor, Cicale and his crew “stole construction equipment, windows and doors from” houses

 renovated by that contractor. (Tr. at 8.) Certainly, it would contravene the purposes of the BRA


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 if this court were to permit Cicale to work in a business that increased the likelihood that he

 would engage in illegal activities.

        Regarding Cicale’s community and family ties, I have reviewed a number of letters from

 friends and relatives of Cicale, which portray him as loyal, hardworking, and respectful. (See

 Def. Mem. Ex. A.) Accepting these descriptions of Cicale as true, there is no necessary

 contradiction between these attributes and the Government’s evidence of Cicale’s dangerousness

 to the community, and ties to members and illegal activities of the Bonanno OCF. Evidence that

 Cicale coordinated the payments of tribute to superiors within his “crew” is a strong indication

 that Cicale is an associate of the Bonanno OCF, an organized crime family that itself engages in

 violence and obstruction of justice to further its criminal enterprise. Specifically, the

 Government proffered a recorded conversation in which Cicale stated that for the past three

 years, he provided $1,500 to the head of his crew each December. (Tr. at 29-30.) The defense’s

 attempt to characterize such payments as a collection for “a Christmas dinner” (Tr. at 32) or “a

 big fancy dinner in a big fancy restaurant in Midtown Manhattan” (Tr. at 33) stretches credulity

 beyond the breaking point. By his own estimate, Cicale earned $25,000 last year, (id. at 37) and

 it is simply not credible that he would spend thousands of dollars at an annual dinner with

 acquaintances. In light of the evidence that Cicale was associated with the Bonanno OCF, this

 court finds that the more credible inference is that he was coordinating tribute payments to his

 superiors in organized crime.

        Therefore, I find that Cicale’s characteristics and history support a finding of

 dangerousness to the community.




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 D.     The nature and seriousness of the danger posed by Cicale’s release

        This “factor essentially directs the court to predict, based on an assessment of the charges

 against the defendant, and the defendant’s history and characteristics, whether he would pose a

 harm to the community at large or to any specific individuals.” Gotti, 358 F. Supp. 2d at 287-88.

 I disagree with Judge Reyes’s conclusion that this is a close case, primarily for the following

 three reasons. First, the three acts of violence alleged to have been committed by Cicale in the

 indictment are serious. The Government has offered strong evidence that Cicale has engaged in a

 pattern of violent activity up until his recent arrest, to wit, the Government alleges that Cicale’s

 loansharking activities occurred less than a year ago, and that the alleged disposal of McKelvey’s

 body barely over a year ago. (Tr. at 28.) In particular, the charge of accessory after the fact to

 the murder of McKelvey demonstrates a willingness to participate in an orchestrated act of

 extreme violence by obstructing justice on behalf of the Bonanno OCF, which strongly supports

 a finding of dangerousness. See id. at 288. In addition to the charged acts, the Government has

 provided evidence of a litany of other violent and illegal activities that militate in favor of

 detention.

        Secondly, the quality of evidence against Cicale respecting the charged conduct is strong.

 The Government has proffered the anticipated testimony of an admitted soldier in and crew

 leader of the Bonanno OCF, and other direct evidence, including taped recordings, that

 demonstrate Cicale’s involvement in the charged acts. See United States v. Tortora, 922 F.2d

 880, 886 (1st Cir. 1990) (finding of dangerousness supported by “direct evidence [of the charged

 acts], including tape recordings. While the admissibility of the recordings may be an issue at trial,

 that circumstance does not preclude their use at a bail hearing.”)


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         Lastly, while Cicale has not yet been charged with racketeering, the Government has

 produced strong evidence that he is an associate in an organization that engages in acts of

 violence to further its illegal activities. The record is bare of any indication that Cicale

 renounced or diminished his alleged association with the Bonanno OCF, and the Government’s

 proffer of evidence regarding Cicale’s alleged charged and uncharged criminal activity

 demonstrates that Cicale’s alleged criminal activities continued virtually to the day of his arrest.

 Cf. id. at 286 (Defendant actions showing intention to break with criminal past would weigh in

 favor of release.).

         The evidence that the Government has offered therefore shows by clear and convincing

 evidence that Cicale engaged in acts of violence in the furtherance of a dangerous organized

 crime family, that he is a danger to the community, and that there are no conditions that can

 adequately assure the safety of the community.

 III.    CONCLUSION

         After a de novo review, I find that the government has established by clear and

 convincing evidence that Cicale presents a danger to the community, and that no set of release

 conditions can adequately assure the safety of the community. See Mercedes, 254 F.3d at 436-

 37. I therefore vacate Magistrate Judge Reyes’ release order, and order that Cicale remain in

 detention pending trial.

 SO ORDERED.


 Dated: August 7, 2006                                  ________/s/____________
        Brooklyn, N.Y.                                  Nicholas G. Garaufis
                                                        United States District Judge



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